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EXHIBIT “B”
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IN THE COUNTY COURT IN AND FOR COLUMBIA COUNTY, FLORIDA

NEW CENTURY FINANCIAL SERVICES,
Plaintiff,

va.
GAYDOS CYNTHIA T

Defendant (s)

INC., CASE NO. 2005 385 Cec

CIVIL DIVISION

‘7

/

FINAL JUDGMENT

Zl ikl 9 Wie SM2

Wh

Thig action was heard by Motion for a Final Default Judgment , after
Defendant GAYDOS CYNTHIA T defaulted. On the evidence
presented the Court finds for the Plaintiff; and IT IS THEREFORE ORDERED
AND ADJUDGED that Plaintiff, NEW CENTURY FINANCIAL SERVICES, INC.,

Principal

§5781.37

2 Ridgedale Avenue, # 104, Cedar Knolls, New Jersey 07927, shall recover
from Defendant GAYDOS CYNTHIA T, residing at
240 SE MARINO WAY HIGH SPRINGS FL 32643

the following judgment:

Principal $5781.37
Interest Owed $1186.75
Court Costs S$ 255.00
Attorney Fees § 350,00
TOTAL $7573.12

Which judgment shall bear interest at the legal rate of 7%, for which

Let Execution Issue Forthwith.

of , 2005,

Copies furnished to:

Plaintiff's Attorney:

Law Office of Richard A. Russell
35¢ Jim Moran Blvd, Ste. 211
Deerfield Beach, Florida 33442

Defendant- at the above address

This certifies coples ware
furnished on:
By:

ORDERED a chamberg in COLUMBIA County this est Hay

co OURT JUDGE

-97/13/2005 Tine: 09:58 .
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